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‘UMTED sTATEs oF AMERICA
Before the
sECURlTIEs ANl) EXCHANGE CoMMIssIoN

 

M_ay 27, 2009
In the Matter of ,
l ORDER DIRECTING PRIVATE
-CALIFORN!A PUBLIC INVESTIGATION AND DESIGNAT_ING
, PENSION~FUN_DS ' ' _ ‘ OFFICERS TO TAKE TESTIMONY_
(LA-3644) '

 

 

I.

Members of the staff have reported information to the Commission that tends to show
that-from at least January 2004 .to the present

A. In possible violation of Section l7(a) of the Securities Act of 1933 (“Securities
Ac ”) and Section lO(b) of the Securities Exchange Act of 1934 (“Exchange Act”) and Rule 10b-
5 thereunder, certain persons and/or entities, directly or indirectly, in the offer or sale or in
connection with the purchase or sale of certain securities, may have been employing devices,
schemes,or artifices to defraud, obtaining money or property by means of untrue statements of
material fact or omitting to state material facts necessary in order to make the statements made,
in the light of the circumstances under which they were or are made, not misleading, or_engaging
in transactions, acts, practices or courses of business which operated, operate, or would operate
as a fraud or deceit upon any person, conceming, among other things, the investment of money
by public pension funds in ,California with investment management firms and others and certain

payments made in connection with those investments

B. In possible violation of Sections 206(1).and 206(2) of the Investment Advisers_
Act of 1940 (“Advisers'Act”), persons and/or entities, while acting as investment advisers,
directly or indirectly, may have been employing 'devices, schemes, or artifices to defraud any
client or prospective client, or engaging in transactions, practices, or courses'of business which
operated or operate as a fraud or deceit upon any client or prospective client, concerning, among
other things', the investment of money by public pension funds in Cal'ifornia with investment
management firms and others and certain payments made in connection with those investments

C. While engaged in the above-described activities, such persons or entities, directly '
or indirectly, may have been making use of any means or instruments of transportation or

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communication in'interstate commerce, or of the mails, of any instrumentality of interstate
commerce, or of any facility of any national securities exchange. ' '

II.

The Commission, having considered the staffs report and deeming such acts and
practices, if true, to be possible violations of Section l7(a) of the Secuiities Act, Section lO(b) of
the Exc_hange Act and Rule 10b-5 thereunder, and Sections 206(1) and 206(2) of the Advisers
Act, finds it necessary and appropriate and hereby: ' '

t to determine whether any persons or entities have engaged in, or are about to engage in, any of
the reported acts or practices or any acts or practices of similar purport or object; and _

FURTHER ORDERS, pursuant to the provisions of Section 19(c) of the Securities Act,

Section 21(b) of the Exchange Act and Section `209(b) of the Advisers ~Act that for purposes of l
such investigation,'Rosalind Tyson, Michele Wein Layne, And_rew Petillon, Diana Tani, Lorraine
Echavarria, Kelly Bowers, Finola Manvelian, Marshail Sp_rung, Leslie Hakala, Catherine W.
Brilliant, lPaya.m Danialypour, Melissa Grant, and Junling Ma, and each of them, are hereby
designated as officers of the Commission and are empowered to administer oaths and
affirmations, subpoena witnesses, compel their attendance, take evidence, and require the

_ production of any books, papers, correspondence, memoranda, contracts, agreements,’or other _
records deemed relevant or material to the inquiry, and to perform all other duties in connection
therewith as prescribed by law.

By the Commission.

Elizabeth M. Murphy
Secretary

 

